 Fill in this information to identify the case:

                Holt & Holt Entrepreneurship, LLC
  Debtor name _________________________________________________________________

                                          Northern District of Alabama
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
                                        21-80445-7
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                          400,000.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                                0.00
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                           400,000.00
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                          740,000.00
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                            3,000.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                        1,323,847.39



4. Total liabilities ...........................................................................................................................................................................        2,066,847.39
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  OfficialCase  21-80445-CRJ7Summary
          Form 206Sum           Doc of
                                     15Assets
                                           Filed   03/22/21
                                              and Liabilities       Entered 03/22/21
                                                              for Non-Individuals                                                                                            15:17:30               Descpage
                                                                                                                                                                                                         Main1
                                                                                      Document                         Page 1 of 37
  Fill in this information to identify the case:

               Holt & Holt Entrepreneurship, LLC
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Northern District of Alabama
  Case number (If known):
                                 21-80445-7
                                _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

   ✔
            No. Go to Part 2.
           Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                    Type of account            Last 4 digits of account number
    3.1. _________________________________________________ ______________________              ____ ____ ____ ____               $______________________
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

   ✔
            No. Go to Part 3.
           Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   OfficialCase
            Form 206A/B
                  21-80445-CRJ7                        Doc 15   Schedule A/B: Assets  Real
                                                                 Filed 03/22/21             and Personal
                                                                                       Entered           Property
                                                                                                  03/22/21     15:17:30                  page 1
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Debtor           Holt & Holt Entrepreneurship, LLC
                _______________________________________________________                                                 21-80445-7
                                                                                                 Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                   $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      ✔


      Yes. Fill in the information below.
                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________    $_______________________
    16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



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         Case 206A/B
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                   Holt & Holt Entrepreneurship, LLC                                                                       21-80445-7
Debtor            _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      ✔


      Yes. Fill in the information below.
      General description                               Date of the last         Net book value of        Valuation method used        Current value of
                                                        physical inventory       debtor's interest        for current value            debtor’s interest
                                                                                 (Where available)
19. Raw materials
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                   $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
           No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used        Current value of debtor’s
                                                                                 debtor's interest        for current value            interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________      $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________      $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________      $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________      $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________     $______________________


Official Form
         Case 206A/B
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Debtor
                Holt & Holt Entrepreneurship, LLC
               _______________________________________________________                                                  21-80445-7
                                                                                                 Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                   $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      ✔


      Yes. Fill in the information below.

    General description                                                          Net book value of     Valuation method             Current value of debtor’s
                                                                                 debtor's interest     used for current value       interest
                                                                                 (Where available)
39. Office furniture

                                                                                  $________________     ____________________      $______________________
40. Office fixtures

                                                                                  $________________     ____________________      $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
                                                                                  $________________     ____________________      $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________      ____________________      $______________________
    42.2___________________________________________________________               $________________      ____________________      $______________________
    42.3___________________________________________________________               $________________      ____________________      $______________________
43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.                                                                            $______________________

44. Is a depreciation schedule available for any of the property listed in Part 7?

      No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
      No
      Yes
Official Form
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 Debtor
                 Holt & Holt Entrepreneurship, LLC
                _______________________________________________________
                                                                                                              21-80445-7
                                                                                           Case number (if known)_____________________________________
                Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      ✔


      Yes. Fill in the information below.

    General description                                                    Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________      ____________________       $______________________

    47.2___________________________________________________________         $________________      ____________________       $______________________

    47.3___________________________________________________________         $________________      ____________________       $______________________

    47.4___________________________________________________________         $________________      ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________       ____________________       $______________________

    48.2__________________________________________________________         $________________       ____________________       $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________       ____________________       $______________________

    49.2__________________________________________________________         $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)


    ______________________________________________________________         $________________       ____________________       $______________________


51. Total of Part 8.
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form
          Case 206A/B
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                   Holt & Holt Entrepreneurship, LLC                                                                   21-80445-7
 Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       5412 Green Meadow Rd., Huntsville, AL 35810             100%
55.1
                                                                                      400,000.00           Pending Sales Contract        400,000.00
                                                                                     $_______________      ____________________        $_____________________

55.2

                                                                                     $_______________      ____________________        $_____________________

55.3

                                                                                     $_______________      ____________________        $_____________________


56. Total of Part 9.                                                                                                                     400,000.00
                                                                                                                                       $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔    No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔    No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
       ✔


        Yes. Fill in the information below.
        General description                                                          Net book value of     Valuation method             Current value of
                                                                                     debtor's interest     used for current value       debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
       ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.
                                                                                                                                        $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form
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Debtor            Holt & Holt Entrepreneurship, LLC
                 _______________________________________________________                                                    21-80445-7
                                                                                                     Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
         No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     ✔
           No. Go to Part 12.
          Yes. Fill in the information below.
                                                                                                                                          Current value of
                                                                                                                                          debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                         _______________     –   __________________________         =   $_____________________
                                                                         Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                               Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                               Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                               Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                       $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                       $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                       $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                        $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                          $_____________________
   ____________________________________________________________                                                                          $_____________________
78. Total of Part 11.
                                                                                                                                         $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         No
         Yes

Official Form
         Case 206A/B
                 21-80445-CRJ7                          Doc 15   Schedule A/B: Assets  Real
                                                                  Filed 03/22/21             and Personal
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Debtor
                   Holt & Holt Entrepreneurship, LLC
                  _______________________________________________________
                                                                                                                                              21-80445-7
                                                                                                                       Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         0.00
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         0.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         0.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               400,000.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         0.00
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         0.00                                  400,000.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  400,000.00                                                                                        400,000.00
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................      $__________________




Official Form
         Case 206A/B
                 21-80445-CRJ7                           Doc 15         Schedule A/B: Assets  Real
                                                                         Filed 03/22/21             and Personal
                                                                                               Entered           Property
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  Fill in this information to identify the case:
              Holt & Holt Entrepreneurship, LLC
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Northern District of Alabama
                                 21-80445-7
  Case number (If known):       _________________________                                                                                               Check if this is an
                                                                                                                                                            amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                 Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien            of collateral.            claim
     Eva Bank                                                    5412 Green Meadow Rd., Huntsville, AL
      __________________________________________
                                                                 35810                                                             180,000.00
                                                                                                                                 $__________________          400,000.00
                                                                                                                                                            $_________________

     Creditor’s mailing address

      1710 Cherokee Ave. SW
      ________________________________________________________
      Cullman, AL 35055
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                  _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred           __________________          
                                                                 ✔   No
    Last 4 digits of account                                        Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                   No
    same property?                                               
                                                                 ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     No
                                                                 As of the petition filing date, the claim is:
    ✔
       Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
    Synovus Bank, 1st; Eva Bank, 1st                                Contingent
                                                                    Unliquidated
                                                                    Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Synovus Bank
                                                                 5412 Green Meadow Rd., Huntsville, AL                           $__________________
                                                                                                                                  560,000.00                $_________________
                                                                                                                                                             400,000.00
      __________________________________________                 35810
     Creditor’s mailing address
      P.O. Box 11746
      ________________________________________________________
      Birmingham, AL 35202
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      Judgment, subject to avoidance as judgment
                                                                  _________________________________________________              lien was recorded within 90 days of bankru
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes
     No                                                         Is anyone else liable on this claim?
    
    ✔ Yes. Have you already specified the relative
                                                                    No
              priority?
                                                                 
                                                                 ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.          As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
             Yes. The relative priority of creditors is            Unliquidated
                  specified on lines _____
                                       2.1                       
                                                                 ✔   Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    740,000.00
                                                                                                                                  $________________
    Page, if any.
   OfficialCase  21-80445-CRJ7Schedule
           Form 206D             Doc D:15Creditors
                                             Filed   03/22/21
                                                   Who             Entered
                                                       Have Claims Secured    03/22/21
                                                                           by Property                                            15:17:30           Descpage
                                                                                                                                                          Main     2
                                                                                                                                                              1 of ___
                                                                    Document               Page 10 of 37
Debtor
               Holt & Holt Entrepreneurship, LLC
               _______________________________________________________                                                    21-80445-7
                                                                                                  Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1       Last 4 digits of
         Name and address
                                                                                                                did you enter the             account number
                                                                                                                related creditor?             for this entity
     Bradley R. Hightower
     505 North 20th Street
     Suite 1800                                                                                                        2
                                                                                                               Line 2. __                     _________________
     Birmingham, AL, 35203
     John R. Lavette
     2131 Third Avenue North
     Birmingham, AL, 35203                                                                                             1
                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




Form 206D
       Case       21-80445-CRJ7         2 of Schedule
                           Official PartDoc   15 FiledD: Creditors Who HaveEntered
                                                            03/22/21       Claims Secured by Property
                                                                                     03/22/21     15:17:30                                Descpage
                                                                                                                                               Main___
                                                                                                                                                    2 of ___
                                                                                                                                                         2
                                                 Document           Page 11 of 37
   Fill in this information to identify the case:

   Debtor
                    Holt & Holt Entrepreneurship, LLC
                    __________________________________________________________________

                                           Northern District of Alabama
   United States Bankruptcy Court for the: ________________________________

   Case number       21-80445-7
                     ___________________________________________
    (If known)

                                                                                                                                      Check if this is an
                                                                                                                                         amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                     12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                 Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           2,000.00                    2,000.00
    Alabama Department of Revenue, Legal Division                                                                                    $_________________
                                                            Check all that apply.
    P.O. Box 320001                                            Contingent
    Montgomery, AL, 36132                                      Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                8
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Internal Revenue Service                                As of the petition filing date, the claim is: $______________________
                                                                                                            1,000.00                   1,000.00
                                                                                                                                     $_________________
                                                            Check all that apply.
    P.O. Box 7346
    Philadelphia, PA, 19101-7346                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                8
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________    $_________________
                                                            Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                             No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)



           Case
  Official Form    21-80445-CRJ7
                206E/F                           Doc 15 E/F:
                                                   Schedule Filed  03/22/21
                                                                Creditors Who HaveEntered
                                                                                   Unsecured03/22/21
                                                                                             Claims  15:17:30                       Descpage
                                                                                                                                         Main      5
                                                                                                                                             1 of ___
                                                        Document           Page 12 of 37
  Debtor
               Holt & Holt Entrepreneurship, LLC
               _______________________________________________________                                                      21-80445-7
                                                                                                     Case number (if known)_____________________________________
                Name


 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                               Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    American Express                                                                                                           80,000.00
                                                                                                                             $________________________________
                                                                              Contingent
    4315 South 2700 West                                                      Unliquidated
    Salt Lake City, UT, 84184                                                 Disputed
                                                                                                   Credit Card Debt
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            79xx
                                               ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Emmanuel & Ebony Stephens                                              Check all that apply.                               100.00
                                                                                                                             $________________________________
    3602 Stag Run Dr.                                                      
                                                                           ✔
                                                                               Contingent
    Huntsville, AL, 35810                                                  
                                                                           ✔   Unliquidated
                                                                           
                                                                           ✔   Disputed
                                                                           Basis for the claim:
                                                                                                   Warranty Claim


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Eva Bank                                                                                                                   350,000.00
                                                                                                                             $________________________________
                                                                              Contingent
    1710 Cherokee Ave. SW                                                     Unliquidated
    Cullman, AL, 35055                                                        Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Eva Bank                                                               Check all that apply.
                                                                                                                               750,000.00
                                                                                                                             $________________________________
    1710 Cherokee Ave. SW                                                     Contingent
    Cullman, AL, 35055                                                        Unliquidated
                                                                              Disputed
                                                                            Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Home Depot                                                                                                                 16,000.00
                                                                                                                             $________________________________
                                                                           Check all that apply.
    P.O. Box 6405                                                             Contingent
    Dallas, TX, 75265                                                         Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
                                                                                                   Credit Card Debt

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Lowe's                                                                                                                     14,000.00
                                                                                                                             $________________________________
                                                                           Check all that apply.
    P.O. Box 530970                                                           Contingent
    Atlanta, GA, 30353-0970                                                   Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:    Credit Card Debt

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                               No
                                                                              Yes


    OfficialCase   21-80445-CRJ7
             Form 206E/F                       Doc 15 E/F:
                                                 Schedule Filed  03/22/21
                                                              Creditors Who HaveEntered
                                                                                 Unsecured03/22/21
                                                                                           Claims  15:17:30                             Desc Main
                                                                                                                                                page __    5
                                                                                                                                                     2 of ___
                                                      Document           Page 13 of 37
  Debtor
                 Holt & Holt Entrepreneurship, LLC
                 _______________________________________________________                                           21-80445-7
                                                                                            Case number (if known)_____________________________________
                 Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             100.00
                                                                                                                    $________________________________
 Melvin & Shellie Harris                                            
                                                                    ✔   Contingent
 3900 Neptune Dr.                                                   
                                                                    ✔   Unliquidated
 Huntsville, AL, 35810                                              
                                                                    ✔   Disputed

                                                                    Basis for the claim: Warranty Claim



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      100.00
                                                                                                                    $________________________________
 Mitchell & Ann Reed
 3600 Stag Run Dr.                                                  
                                                                    ✔
                                                                        Contingent
 Huntsville, AL, 35810                                              
                                                                    ✔
                                                                        Unliquidated
                                                                    
                                                                    ✔
                                                                        Disputed

                                                                    Basis for the claim: Warranty Claim



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Redstone Federal Credit Union                                      Check all that apply.
                                                                                                                     100,000.00
                                                                                                                    $________________________________
 220 Wynn Drive                                                        Contingent
 Huntsville, AL, 35893                                                 Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     10,000.00
                                                                                                                    $________________________________
 Regions Bank                                                       Check all that apply.
 201 Milan Parkway                                                     Contingent
 Birmingham, AL, 35211                                                 Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 The Ledges Community Assoc.                                        Check all that apply.
                                                                                                                      3,547.39
                                                                                                                    $________________________________
 P.O. Box 18757                                                        Contingent
 Huntsville, AL, 35804                                                 Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




       OfficialCase   21-80445-CRJ7
                Form 206E/F                  Doc 15 E/F:
                                               Schedule Filed  03/22/21
                                                            Creditors Who HaveEntered
                                                                               Unsecured03/22/21
                                                                                         Claims  15:17:30                      Desc Main          5
                                                                                                                                            3 of ___
                                                                                                                                       page __
                                                    Document           Page 14 of 37
     Debtor
                    Holt & Holt Entrepreneurship, LLC
                     _______________________________________________________
                                                                                                                            21-80445-7
                                                                                                       Case number (if known)_____________________________________
                    Name



Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          American Express
4.1.      c/o Becket and Lee, LLP                                                                   3.1
                                                                                               Line _____
          P.O. Box 3001                                                                                                                         ________________
          Malvern, PA, 19355-0701                                                                   Not listed. Explain:


          Jeffrey L. Cook
4.2.
          P.O. Box 5585                                                                        Line 3.9
                                                                                                    _____
          Huntsville, AL, 35814                                                                   Not listed. Explain                          ________________



          John R. Lavette                                                                           3.3
4.3.                                                                                           Line _____
          2131 Third Avenue North
          Birmingham, AL, 35203                                                                   Not listed. Explain                          ________________


          John R. Lavette
4.4.      2131 Third Avenue North                                                                   3.4
                                                                                               Line _____
          Birmingham, AL, 35203                                                                                                                 ________________
                                                                                                  Not listed. Explain

          Melissa Dawn Endsley
41.       McGrath Law Firm                                                                          3.2
                                                                                               Line _____
          P.O. Box 2469                                                                                                                         ________________
          Huntsville, AL, 35804
                                                                                                  Not listed. Explain

          Melissa Dawn Endsley
4.5.      McGrath Law Firm
                                                                                                    3.7
                                                                                               Line _____
          P.O. Box 2469                                                                           Not listed. Explain                          ________________
          Huntsville, AL, 35804

          Melissa Dawn Endsley
4.6.      McGrath Law Firm
                                                                                                    3.8
                                                                                               Line _____
          P.O. Box 2469                                                                           Not listed. Explain                          ________________
          Huntsville, AL, 35804


4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




       OfficialCase   21-80445-CRJ7
                Form 206E/F                         Doc 15 E/F:
                                                      Schedule Filed  03/22/21
                                                                   Creditors Who HaveEntered
                                                                                      Unsecured03/22/21
                                                                                                Claims  15:17:30                            Desc Main
                                                                                                                                                    page __    5
                                                                                                                                                         4 of ___
                                                           Document           Page 15 of 37
 Debtor
               Holt & Holt Entrepreneurship, LLC
               _______________________________________________________
                                                                                                                21-80445-7
                                                                                          Case number (if known)_____________________________________
               Name



Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                  Total of claim amounts



5a. Total claims from Part 1                                                                         5a.
                                                                                                                    3,000.00
                                                                                                                  $_____________________________




5b. Total claims from Part 2                                                                         5b.    +       1,323,847.39
                                                                                                                  $_____________________________




5c. Total of Parts 1 and 2                                                                                          1,326,847.39
                                                                                                     5c.          $_____________________________
   Lines 5a + 5b = 5c.




   OfficialCase   21-80445-CRJ7
            Form 206E/F                     Doc 15 E/F:
                                              Schedule Filed  03/22/21
                                                           Creditors Who HaveEntered
                                                                              Unsecured03/22/21
                                                                                        Claims  15:17:30                     Desc Main
                                                                                                                                     page __    5
                                                                                                                                          5 of ___
                                                   Document           Page 16 of 37
 Fill in this information to identify the case:

             Holt & Holt Entrepreneurship, LLC
 Debtor name __________________________________________________________________

                                         Northern District of Alabama
 United States Bankruptcy Court for the:______________________

                            21-80445-7                                       7
 Case number (If known):    _________________________                Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or
 2.1     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.2     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.3     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




         Case
Official Form    21-80445-CRJ7 Schedule
              206G               Doc 15       Filed Contracts
                                        G: Executory 03/22/21      EnteredLeases
                                                              and Unexpired 03/22/21                                 15:17:30         Descpage
                                                                                                                                           Main      1
                                                                                                                                               1 of ___
                                                          Document              Page 17 of 37
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Holt & Holt Entrepreneurship, LLC

                                         Northern District of Alabama
 United States Bankruptcy Court for the:_______________________________

                           21-80445-7
 Case number (If known):   _________________________




                                                                                                                                         Check if this is an
                                                                                                                                            amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                              12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
      
      ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
      schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

       Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                            Check all schedules
           Name                      Mailing address                                                     Name
                                                                                                                                            that apply:

      Martell L. Holt               Martell L. Holt
2.1                                                                                                     Synovus    Bank
                                                                                                         _____________________              ✔ D
                                                                                                                                            
                                    5 Muirfield Lane
                                                                                                                                             E/F
                                    Huntsville, AL 35802                                                                                     G




2.2                                 Melody S. Holt
                                                                                                        Synovus   Bank
                                                                                                         _____________________              ✔ D
                                                                                                                                            
                                    5 Muirfield Ln.
                                                                                                                                             E/F
                                    Huntsville, AL 35802                                                                                     G
      Melody S. Holt



2.3                                 Martell L. Holt
                                    5 Muirfield Lane                                                     Redstone    Federal Credit Union
                                                                                                          _____________________       D
                                                                                                                                            ✔ E/F
                                                                                                                                            
                                    Huntsville, AL 35802
      Martell L. Holt                                                                                                                        G



2.4
                                    Martell L. Holt
                                    5 Muirfield Lane                                                    Eva  Bank
                                                                                                         _____________________              ✔ D
                                                                                                                                            
                                    Huntsville, AL 35802                                                                                     E/F
      Martell L. Holt                                                                                                                        G



2.5                                 Martell L. Holt
                                    5 Muirfield Lane                                                    Alabama
                                                                                                         _____________________      D
                                                                                                                   Department of Revenue, Legal Division
                                                                                                                                            ✔ E/F
                                                                                                                                            
                                    Huntsville, AL 35802                                                                                     G
      Martell L. Holt


2.6                                 Melody S. Holt
                                    5 Muirfield Ln.                                                     Redstone                     D
                                                                                                                    Federal Credit Union
                                                                                                         _____________________
                                                                                                                                            ✔ E/F
                                                                                                                                            
                                    Huntsville, AL 35802                                                                                     G
      Melody S. Holt




         Case
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Debtor
               Holt & Holt Entrepreneurship, LLC
               _______________________________________________________                                   21-80445-7
                                                                                      Case number (if known)_____________________________________
               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   7
 2.___                            Melody S. Holt
          Melody S. Holt
          _____________________                                                              Eva  Bank
                                                                                              _____________________           ✔ D
                                                                                                                              
                                  5 Muirfield Ln.
                                                                                                                               E/F
                                  Huntsville, AL 35802                                                                         G




   8
 2.___                            Melody S. Holt
          Melody S. Holt
          _____________________   5 Muirfield Ln.                                            Alabama                    D
                                                                                                        Department of Revenue,
                                                                                              _____________________            Legal Division
                                                                                                                              ✔ E/F
                                                                                                                              
                                  Huntsville, AL 35802
                                                                                                                               G




   9
 2.___                            Martell L. Holt
          Martell L. Holt
          _____________________   5 Muirfield Lane                                           Internal Revenue Service  D
                                                                                              _____________________
                                                                                                                              ✔ E/F
                                                                                                                              
                                  Huntsville, AL 35802
                                                                                                                               G




   10
 2.___                            Melody S. Holt
          Melody S. Holt
          _____________________                                                              Internal Revenue Service  D
                                                                                              _____________________
                                  5 Muirfield Ln.
                                                                                                                              ✔ E/F
                                                                                                                              
                                  Huntsville, AL 35802
                                                                                                                               G




   11
 2.___                            Martell L. Holt
          Martell L. Holt
          _____________________   5 Muirfield Lane                                           American   Express
                                                                                              _____________________            D
                                                                                                                              ✔ E/F
                                                                                                                              
                                  Huntsville, AL 35802
                                                                                                                               G




   12
 2.___                            Martell L. Holt
          Martell L. Holt
          _____________________   5 Muirfield Lane                                           Regions   Bank
                                                                                              _____________________            D
                                                                                                                              ✔ E/F
                                                                                                                              
                                  Huntsville, AL 35802
                                                                                                                               G




   13
 2.___
                                  Melody S. Holt
          Melody S. Holt
          _____________________   5 Muirfield Ln.                                            Regions   Bank
                                                                                              _____________________            D
                                                                                                                              ✔ E/F
                                                                                                                              
                                  Huntsville, AL 35802
                                                                                                                               G




   14
 2.___                            Martell L. Holt
          Martell L. Holt
          _____________________   5 Muirfield Lane                                           Lowe's
                                                                                              _____________________            D
                                                                                                                              ✔ E/F
                                                                                                                              
                                  Huntsville, AL 35802                                                                         G




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Debtor
               Holt & Holt Entrepreneurship, LLC
               _______________________________________________________                                   21-80445-7
                                                                                      Case number (if known)_____________________________________
               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   15
 2.___                            Melody S. Holt
          Melody S. Holt
          _____________________                                                              Lowe's
                                                                                              _____________________            D
                                  5 Muirfield Ln.
                                                                                                                              ✔ E/F
                                                                                                                              
                                  Huntsville, AL 35802                                                                         G




   16
 2.___                            Martell L. Holt
          Martell L. Holt
          _____________________   5 Muirfield Lane                                           Home   Depot
                                                                                              _____________________            D
                                                                                                                              ✔ E/F
                                                                                                                              
                                  Huntsville, AL 35802
                                                                                                                               G




   17
 2.___                            Melody S. Holt
          Melody S. Holt
          _____________________   5 Muirfield Ln.                                            Home   Depot
                                                                                              _____________________            D
                                                                                                                              ✔ E/F
                                                                                                                              
                                  Huntsville, AL 35802
                                                                                                                               G




 2.___
          _____________________                                                               _____________________            D
                                                                                                                               E/F
                                                                                                                               G




 2.___
          _____________________                                                               _____________________            D
                                                                                                                               E/F
                                                                                                                               G




 2.___
          _____________________                                                               _____________________            D
                                                                                                                               E/F
                                                                                                                               G




 2.___
          _____________________                                                               _____________________            D
                                                                                                                               E/F
                                                                                                                               G




 2.___
          _____________________                                                               _____________________            D
                                                                                                                               E/F
                                                                                                                               G




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                                                                                                                                         3
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Fill in this information to identify the case:
             Holt & Holt Entrepreneurship, LLC
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Northern District of AlabamaDistrict of _________
                                                                              (State)
Case number (If known):   _________________________
                           21-80445-7                                                            ___________________________________________



                                                                                                                                     Check if this is an
                                                                                                                                        amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                  Gross revenue
            may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the                                                            Operating a business                               0.00
           fiscal year to filing date:           01/01/2021
                                           From ___________         to     Filing date          Other                             $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2020
                                           From ___________         to     12/31/2020
                                                                           ___________          Operating a business                               0.00
                                                                                                                                   $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:             01/01/2019
                                           From ___________         to     12/31/2019
                                                                           ___________          Operating a business                               0.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                         $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                                              Description of sources of revenue   Gross revenue from each
                                                                                                                                  source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the                                                                                                             0.00
                                                                                              ___________________________         $__________________
           fiscal year to filing date: From 01/01/2021
                                            ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From 01/01/2020
                                                ___________         to      12/31/2020
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________                        0.00
                                                                                                                                  $__________________



           For the year before that:       From 01/01/2019
                                                ___________         to      12/31/2019
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________                        0.00
                                                                                                                                  $__________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 1

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                                                                                               Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
    adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None
     ✔
             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

             __________________________________________       ________        $_________________                 Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments

                                                              ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                           Other _______________________________


     3.2.

                                                              ________        $_________________                 Secured debt
             __________________________________________
             Creditor’s name                                                                                     Unsecured loan repayments

                                                              ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                           Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

     
     ✔      None

             Insider’s name and address                        Dates          Total amount or value        Reasons for payment or transfer
     4.1.

             __________________________________________      _________       $__________________
             Insider’s name

                                                             _________

                                                             _________


             Relationship to debtor
             __________________________________________



     4.2.    __________________________________________
             Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




             Relationship to debtor

             __________________________________________



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 2

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                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

      None
     ✔
             Case title                              Nature of case                          Court or agency’s name and address                Status of case

     7.1.                                                                                                                                         Pending

                                                                                                                                                  On appeal

             Case number                                                                                                                          Concluded



             _________________________________

             Case title                                                                      Court or agency’s name and address
                                                                                                                                                  Pending
     7.2.
                                                                                                                                                  On appeal

             Case number
                                                                                                                                                  Concluded




             _________________________________


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                                                                                                    Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4

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               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Sparkman, Shepard & Morris, P.C.
            __________________________________________        N/A
   11.1.                                                                                                                 03/11/2021
                                                                                                                         ______________      $_________
                                                                                                                                               0.00
            Address

            303 Williams Ave. SW
            Suite 1411
            Huntsville, AL 35801




            Email or website address
            _________________________________

            Who made the payment, if not debtor?

            N/A
            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




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               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.    __________________________________________                                                                    ________________     $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
            Address                                                                                             Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




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                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the            If debtor provides meals
                                                             debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.1.    ________________________________________                                                                                     ____________________
            Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                     How are records kept?


                                                                                                                                         Check all that apply:

                                                                                                                                            Electronically
                                                                                                                                            Paper

                                                             Nature of the business operation, including type of services the            If debtor provides meals
            Facility name and address                        debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.2.                                                                                                                                 ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                         Check all that apply:
                                                                                                                                          Electronically
                                                                                                                                         Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔     No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                    No. Go to Part 10.
                    Yes. Fill in below:
                        Name of plan                                                                           Employer identification number of the plan

                        _______________________________________________________________________                EIN: ___________________________________

                     Has the plan been terminated?
                           No
                           Yes



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                                                                                                  Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔     None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔      None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                                                                                                                       Yes



                                                            Address




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Debtor
              Holt & Holt Entrepreneurship, LLC
              _______________________________________________________                                                 21-80445-7
                                                                                               Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                       Pending
                                                     _____________________________________
          Case number                                Name                                                                                         On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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Debtor
                Holt & Holt Entrepreneurship, LLC
                _______________________________________________________                                             21-80445-7
                                                                                             Case number (if known)_____________________________________
                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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Debtor
                   Holt & Holt Entrepreneurship, LLC
                  _______________________________________________________                                               21-80445-7
                                                                                                 Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              Childress Accounting                                                                            From _______
   26a.1.     __________________________________________________________________________________
              Name
                                                                                                              To _______




              Name and address                                                                                Dates of service

                                                                                                              From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                 None

                    Name and address                                                                          Dates of service


                    Childress Accounting                                                                      From _______
         26b.1.     ______________________________________________________________________________
                    Name
                                                                                                              To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     Childress Accounting
                    ______________________________________________________________________________
                    Name




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Debtor
                    Holt & Holt Entrepreneurship, LLC
                    _______________________________________________________                                            21-80445-7
                                                                                                Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

                   None

                     Name and address


           26d.1.    Synovus Bank
                     ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔      No
           Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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Debtor
                Holt & Holt Entrepreneurship, LLC
                _______________________________________________________                                              21-80445-7
                                                                                               Case number (if known)_____________________________________
                Name




            Name of the person who supervised the taking of the inventory                     Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest      % of interest, if any
 Tazewell Shepard as Trustee for             Huntsville, AL 35804
 Bankruptcy Estate of Melody S. Holt

 Judith C. Thompson, as Trustee for          Huntsville, AL 35804
 Bankruptcy Estate of Martell Holt




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
     No
     
     ✔     Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                                Address                                                 interest                     or interest was held
 Martell Holt
                                                                                                                                      _________ To _________

 Melody Holt
                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     
     ✔     No
          Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
            Name and address of recipient                                            and value of property                                   the value

   30.1.    ______________________________________________________________            _________________________          _____________
            Name


                                                                                                                         _____________


                                                                                                                         _____________

            Relationship to debtor                                                                                       _____________

            ______________________________________________________________                                               _____________
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Debtor
                   Holt & Holt Entrepreneurship, LLC
                   _______________________________________________________                                                 21-80445-7
                                                                                                    Case number (if known)_____________________________________
                   Name




              Name and address of recipient
                                                                                            __________________________     _____________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________

                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ____________________________



 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       03/22/2021
                               _________________
                                MM / DD / YYYY



              /s/ Tazewell T. Shepard
              ___________________________________________________________                              Tazewell T. Shepard
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 as Trustee for the Bankruptcy Estate of Melody S. Holt, Bankruptcy Case No.: 20-82380-CRJ-7
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
         
         ✔    No
             Yes




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                                      United States Bankruptcy Court
                                                             Northern District of Alabama
                                               __________________________________
     In re   Holt & Holt Entrepreneurship, LLC

                                                                                                             Case No. _______________
                                                                                                                      21-80445-7



    Debtor                                                                                                            7
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         0.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 0.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   0.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)        N/A


    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)        N/A


    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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      d. [Other provisions as needed]
All services to be provided are subject to approval of employment and fees by Bankruptcy Court.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




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                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for
            payment to me for representation of the debtor(s) in this bankruptcy proceeding.

        03/22/2021                        /s/ Kevin Morris, ASB-3409-V85M
      _____________________              _________________________________________
      Date                                     Signature of Attorney
                                          Sparkman, Shepard & Morris, P.C.
                                         _________________________________________
                                              ​Name of law firm
                                          303 Williams Ave. SW
                                          Suite 1411
                                          Huntsville, AL 35801
                                          256-512-6122
                                          kevin@ssmattorneys.com




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